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                                                                             Letter

                                                                            Eric A. Seitz
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                                                  August 11, 2021



  Honorable Jill A. Otake
  United States District Judge
  District of Hawaii
  300 Ala Moana Boulevard
  Honolulu, Hawaii 96850

   Re:    Anthony Chatman, et al vs. Max. N. Otani, et al
          Civil No. 21-00268 JAO-KJM

   Dear Judge Otake:

                      We are writing to you again in light of recently reported outbreaks of Covid-19
  infections in several Hawaii correctional facilities notwithstanding the State's assurances to the Court
  that the State is implementing all of its protocols and doing everything it can do to provide a safe
  environment for the inmates and staff. Notwithstanding the respective wardens' recently filed
  declarations, there have been significant numbers of newly reported cases at Halawa, Hawaii
  Community Correctional Facility, Maui Community Correctional Facility, Kauai Community Correctional
  Facility, and Oahu Community Correctional Facility within just the past few days. Based upon the
  information we are receiving it is evident that the State cannot and will not obey and implement the
  Court's directives and continues to provide vague and inaccurate assessments of the real conditions in
  its facilities to the grave danger of our clients, the prison staff, and the community.

                    We ask that the Court address these concerns urgently.            Thank you for your
   consideration.




                                                  Eric A. Seitz
                                                  Gina Szeto-Wong
                                                  Kevin Yolken




   cc     Hon. Kenneth J. Mansfield
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